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                                                  BEFORE THE
                              AMERICAN ARBITRATION ASSOCIATION


JAMES C. HASSELL and HASSELL                                    §
CONSTRUCTION COMPANY, INC.,                                     §
     Claimants                                                  §
                                                                §
v.                                                              §        No. 01-14-0000-3178
                                                                §
R. HASSELL HOLDING COMPANY, INC.,                               §
R. HASSELL & COMPANY, INC.,                                     §
R. HASSELL BUILDERS, INC.,                                      §
G.R. GROUP RESOURCES, LLC, ROYCE                                §
J. HASSELL and SILVIA HASSELL,                                  §
       Respondents                                              §



                                MOTION TO JOIN ADDITIONAL PARTIES
                              OF RHHC AND ROYCE AND SILVIA HASSELL 1

         Without waiver of jurisdictional objection R. Hassell & Company, Inc., R. Hassell

Builders, Inc., R. Hassell Holding Company, Inc. and G. R. Group Resources, L.L.C (hereinafter

jointly "RHHC") and Royce and Silvia Hassell move to join parties to these arbitration. This



fairness and protect the due process rights of Movants, to attempt to avoid inconsistent judgments

and multiple proceedings, and to allow RHHC and Royce and Silvia Hassell ("Movant") to present

their full case and defenses.2 In support of this motion Movants respectfully show as follows:


1
     R. Hassell & Company, Inc., R. Hassell Builders, Inc., R. Hassell Holding Company, Inc., G.R. Group Resources LLC,
("RHHC"), Royce Hassell and Silvia Hassell have been granted a running objection to the jurisdiction of the AAA and
file this motion under protest and without waiver. RHHC and Royce and Silvia Hassell have also previously noted
objection to and continue to object to the participation of the law firm of Coats Rose and its attorneys as attorneys
for HCCI herein, as well as attorney Micky Das and his law firm.
2
    As a result of the conduct of HCCI, Movants have been forced to arbitrate these disputes. Movants' objections to
jurisdiction include, among others, contract formation defenses to the arbitration clause. Separately Movants have
objected to arbitration, on grounds including the impossibility of Movants to proceed in arbitration due to lack of


                                                      Exhibit
                                                        B
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                                               INTRODUCTION

         1.       In this consolidated arbitration wherein RHHC initially asserted causes of action

against Hassell Construction Co., Inc. and Hassell Management Services, L.L.C. (herein jointly

"HCCI") for an breach of a joint venture agreement, conversion, and an accounting of a partnership

agreement between RHHC and HCCI which had been proposed by HCCI entered into between

RHHC and HCCI in 2012,. HCCI and James C. Hassell individually have asserted claims against

RHHC and Royce and Silvia Hassell individually in a separately filed arbitration for "Breach of

Contract      (Debt/Foreclosure),"        "Fraud,"     "Breach      of Fiduciary         Duty,"     and     "Business

Disparagement."

         2.       This motion is filed in an abundance of caution and in an effort not to waive any

rights ofRHHC or Royce and Silvia Hassell. Although the statute of limitations have not expired

on joining parties or claims, the AAA Arbitrator Panel has set January 12 as the deadline for a

motion to join additional parties and claims. Therefore, although additional discovery will need

to be conducted this motion is filed at this time based on the information available at this time.

                          FACTS RELEVANT TO THIS MOTION FOR JOINDER

         3.       Together with Royce Hassell, Phillip Hassell ("JPH"), Michael Hassell ("MLH")

and Shawn Hassell Potts ("SHP") are equal beneficiaries of the James C. Hassell Intervivos Trust

("JCH Trust") which has owned the appreciating stock of Hassell Construction Company, Inc.

since 1986. MLH has been the Trustee of the JCH Trust for approximately twenty years. Together


funds to pay the costs of arbitration as set out in Movants previously filed Motion for Equitable and Injunctive Relief.
As stated therein, the conduct of HCCI has rendered Movants unable to pay the arbitration costs with no expectation
of acquiring such funds until after the conclusion of this litigation. HCCI has placed movants in an unfair position
which will prevent Movants from presenting their case. Additionally, Movants have also argued that they have been
forced to arbitrate matters which do not fall under the scope of the CJVA arbitration provision. For instance, HCCI
has made claims against RHHC based on losses incurred in the Springwoods Project, which prior to such claims HCCI
and RHHC had been jointly litigating in court, in a case which has not been abated, for over a year before HCCI moved
for arbitration in this case.
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JPH, MLH and SHP also control Hassell Construction Company, Inc. and are owners, directors

and officers of Hassell Management Services, L.L.C.

       4.      Beginning in 2008, by mutual agreement HCCI and RHHC entered into a

partnership to perform certain construction projects using the forces ofRHHC and excess bonding

capacity of HCCI. The nature of this relationship changed when Royce became gravely ill with

end-stage renal disease in 2010, at the same time he made the mistake of trusting his family and

believing they would deal with him fairly during his illness.

       5.      Unknown to Royce things at the family owned corporations, Hassell Construction

Company, Inc. and Hassell Management Services, L.L.C., were not as they had appeared or were

represented to him by his siblings. When in the summer of 2010 after Royce's father found out

how ill Royce was he offered and agreed to have HCCI return a $350,000 fee which HCCI had

received from RHHC on one of the partnership projects, JPH, MLH and SHP objected on the

grounds that the $350,000 was essentially the only profit of HCCI for the year and that Royce's

father had never done such a thing for them so he should not be allowed to do it for Royce. Thus,

JPH, MLH and SHP overrode Royce's father's decision and insisted that instead the corporation

make a personal loan to Royce of $350,000 which they agreed would be paid out of future

operations ofRHHC or the future sale of personally owned real estate of Royce and Silvia Hassell.

Simultaneously, his family promised Royce and Silvia that they would cause HCCI to bond up to

$15,000,000 in work for R. Hassell & Company, Inc. and $10,000,000 in work for R. Hassell

Builders, Inc. so that the companies could make enough profit to pay back the personal loan

through RHHC's operations.

       6.      In October of 2010, being faced with his own illness and its daunting and uncertain

prospects Royce had to make the decision of whether to accept the terms of his siblings or reduce
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operations drastically until his health and the economy improved. After much consideration,

Royce agreed to the loan only on the condition that RHHC would be provided future bonding such

that RHHC would have the means of generating income to repay the loan. In conjunction with

this agreement and understanding Royce's family asked Royce and Silvia to become co-principals

and co-indemnitors on the bonds issued by Liberty Mutual on the projects to be performed by or

subcontracted to RHHC. (Exhibit "A") As his illness progressed in 2011 to the point where Royce

needed regular hemodialysis to survive, Royce's family asked him to sign deeds of trust to Royce's

personal real estate to secure James C. Hassell's guarantee of a line of credit with Vista Bank for

Hassell Construction in an amount never to exceed $2.5 million. Thus, Shawn Hassell Potts

became trustee to deeds of trust on all of Royce and Silvia's real property in favor of James C.

Hassell as beneficiary.

       7.        In July of 2011, pursuant to these agreements R. Hassell & Company, Inc. bid and

was low bidder on a $15,000,000 project to construct the infrastructure and improvements for

Exxon's new worldwide campus hereinafter called the Springwoods Project under contract with

Harris County Improvement District 18 ("HCID 18") and Springwoods Realty Company. As

agreed between HCCI and RHHC, although the project was bid under the name used by the

partnership "Hassell Construction Company, Inc.," it was independently performed almost

exclusively by RHHC forces in exchange for a 99% interest in the contract. HCCI received a 1%

interest in the Springwoods Project contract. Unfortunately, the plans for this project provided by

HCID 18 and Springwoods Realty Company were not ready for construction as represented by the

owners, and, as a result, the deadlines set by Exxon on HCID 18 and Springwoods Realty were

not being met.
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       8.      Already by January of2012, the losses from the Springwoods Project were so grave

that the family members jointly decided that an attorney should be consulted to determine how the

family and the family's business should proceed under the circumstances given debt of RHHC to

HCCI resulting from the losses. Although requested to attend the meeting, being just out of a

kidney transplant and on restrictions as to people contact because of suppressed immunity, Royce

did not attend the legal consultation trusting and relying on his father and brother to go for the

family instead. Thus, in January of 2012 JPH and Royce' father met with Coats Rose attorneys

Patrick Gaas and Heather Asselin and purported to inform Royce, SHP and MLH about what the

attorneys advised.

       9.      It was not discovered until much later that at the time of this legal consultation,

Coats Rose had been laboring under severe conflicts of interest and under no circumstances should

have undertaken to advise the Hassell family or any of their related entities involved in the

Springwoods Project as to how to proceed under the circumstances of the Springwoods Project

losses. Specifically, it was later discovered that at the time of this January of 2012 consultation

Coats Rose President and Managing Director, Richard L. Rose directed the conduct and decisions

of Harris County Improvement District 18 with regards to the Springwoods Project, Coats Rose

attorneys including Richard L. Rose represented Exxon as a client with regard to Exxon's

reimbursements to HCID 18 and Springwoods Realty Company for RHHC's work and the

Springwoods Project contract in HCCI's name, and Coats Rose attorneys represented Liberty

Mutual, the bonding company which issued the surety bonds RHHC and HCCI on the

Springwoods Project in favor ofHCID 18 and Springwoods Realty Company. Thus, when giving

advice to the family about how to proceed on the Springwoods Project in light of the losses being

incurred on the Springwoods Project, Coats Rose attorneys were laboring under severe conflicts
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as to other clients Exxon and Liberty Mutual, and interests of the firm's President and Managing

Director as Director ofHCID 18. (Exhibit "B") Coats Rose later represented that prior to meeting

with the Hassell family and Hassell entities, Coats Rose's conflict of interest checks did not catch

the conflicts because only family members' names were checked and not corporate entities because

it was represented that advice was being sought for the family. Liberty Mutual was directly aware

of the asserted conflict claims of RHHC and HCCI beginning when Coats Rose undertook to

represent Liberty Mutual against RHHC just months after the January of 2012 consultation in a

separate case.

        10.      Although JPH and James C. Hassell represented that the January of 2012

consultation had been made on behalf of the family and all the family entities (Exhibit "C"),

however, based on newly filed affidavits of both Coats Rose and JPH in this case, what had been

represented to Royce Hassell about the consultation in order to cause him to cooperate and follow

the purported advice, now is shown to have been a ruse used to obtain RHHC's cooperation for

purposes of laying the framework for an eventual takeover of RHHC's assets and business and to

get Royce and Silvia Hassell to "sign over" all their personal real estate to James C. Hassell at less

than fair market value so that Royce's father could "bundle the properties" and obtain a loan on the

properties. Royce and Silvia Hassell were not aware when these ultimatums were being made to

them that Hassell Management Services, L.L.C. needed use of the equity in the real properties of

Royce and Silvia Hassell in order to finance a loan on the three subdivisions they had purchased

and developed in Navasota which were under water and could not support a loan to repay Hassell

Construction Company, Inc. for the money borrowed from the company to develop subdivisions.

        11.      Coats Rose and JPH's newly sworn affidavits demonstrate that James C. Hassell,

JPH and HCCI intended to deceive and did deceive Royce Hassell and RHHC as to the nature of
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the January 2012 consultation and the results of that meeting.        The result of this deliberate

deception was that Royce continued to trust his family and cooperate with their demands on him

under the guise of partnership while his family plotted with Coats Rose to obtain his assets. Thus,

without knowing the intentions behind the advice which Coats Rose was purported to have given

HCCI which was represented to be that the ongoing Springwoods Project should be completed

regardless of the losses being incurred, RHHC did just that. If that was the advice of Coats Rose,

it obviously was intended to and did favor the interests of Harris County Improvement District 18,

Springwoods Realty Company, and the bonding company for HCCI and RHHC, Liberty Mutual,

to the detriment of RHHC and its relationship with HCCI. RHHC thereafter did complete the

project at great loss for which HCCI now sues RHHC in this case, and for which James C. Hassell

and Shawn Hassell Potts, Trustee, seek to foreclose on the personal real property of Royce and

Silvia Hassell in this case.

        12.      HCID 18, Springwoods Realty Company, Liberty Mutual, HCCI, and Exxon are

all aware of the conflict of interest claims of RHHC and Royce and Silvia Hassell as these claims

were made in a Petition of Intervention which RHHC and Royce and Silvia Hassell filed in the

Springwoods Project litigation which is incorporated herein by reference and includes claims

against HCCI, Coats Rose, the agent for Coats Rose before Judge Carter Micky Das, and

Springwoods Realty Company. (Exhibit D). The Petition for Intervention of HCCI and Royce

and Silvia Hassell were stricken, however, on the motion of HCCI and Coats Rose, on the alleged

basis that 1-J   I and R11H 'hm e never been partners "at any time" as verified by Phillip Hassell.

These conflicted parties consented to and/or failed to object to the conflicts of Coats Rose in

simultaneously directing and/or advising the Hassell family and entities with regards to the

Springwoods Project and other entities who each directly have an interest in the Springwoods
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Project and its losses. HCID 18 and Springwoods Realty Company have been aware that Coats

Rose advised the Hassell family and related entities with regard to the Springwoods Project but

continued to allow Richard L. Rose to direct the conduct of HCID 18 and be part of and privy to

the legal decisions in the case. Liberty Mutual has been aware that Coats Rose advised the Hassell

family and related entities with regard to losses being incurred in the Springwoods Project and

later allowed Coats Rose to represent Liberty Mutual against the interests of RHHC in a separate

case.

        13.    After a failed mediation against Harris County Improvement District 18 and

Springwoods Realty in July of2012, HCCI and RHHC jointly sued Harris County Improvement

District 18 and Springwoods Realty under the name used by their partnership, Hassell Construction

Company, Inc. That lawsuit was jointly pursued for over a year until Coats Rose caused HCCI to

oust RHHC from that case to the exclusion of RHHC and Coats Rose asserted claims against

RHHC for the Springwoods losses in this matter while at the same time aiding and assisting HCCI

to wrongfully convert all the ongoing 2012 partnership projects and income to the exclusion of

RHHC.

        14.    After the failed July 2012 mediation in Springwoods HCCI and RHHC had an

acnmomous parting.      (Exhibit "E").   To Royce's surprise at the time, however, JPH then

immediately turned around and proposed that the corporations enter into a new joining of forces

partnership.   The intent behind this surprising development has become clear in light of the

affidavits of Coats Rose and JPH which were subsequently filed stating that at all time during and

after the consultation with Coats Rose in January of 2012, the interests of HCCI and RHHC have

been adverse. This admission, viewed in light of JPH's proposed joining of forces and combining

of resources partnership proposed in August of 2012 explains the true intent behind the family's
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desire to integrate RHHC and HCCI together in partnership to such an extent that at the end of the

day there was no more RHHC or HCCI, there was just "Hassell" and the "Hassell" turned out to

be Hassell Construction Company unilaterally converting all the partnership assets and repudiating

the partnership with RHHC.

       15.     Liberty Mutual was paid fees for bonds issued on behalf of RHHC and Royce and

Silvia Hassell as principals and indemnitors. As agents for Liberty Mutual, Rosalyn Hassell and

her employer CHS Surety were paid commission on the bonds issued by Liberty Mutual on behalf

of RHHC and Royce and Silvia Hassell and also on the insurance policies issued to RHHC and

HCCI. Despite the payments made by RHHC, Liberty Mutual, Rosalyn Hassell and CHS Surety

have failed to recognize the relationship which has been formed as a result of their agreement and

have refused to communicate with RHHC or Royce and Silvia Hassell regarding the relationship,

or to provide information requested regarding the bonds issued on their behalf. Liberty Mutual,

and their agents in fact, Rosalyn Hassell, who is also Phillip's Hassell's wife, and CHS Surety have

conspired with JPH and HCCI to repudiate the relationship between surety and principal and

bonding agent and principal. Both Rosalyn Hassell and CHS Surety were paid fees by RHHC

based on the value of bonds issued for which RHHC and Royce and Silvia Hassell are principals

and co-indemnitors. RHHC and Royce and Silvia Hassell requested that Liberty Mutual, Rosalyn

Hassell, and CHS provide the necessary data, documents and information to allow RHHC to

present their claims on an emergency basis to the Courts. (Exhibit "F"). Liberty Mutual, Rosalyn

Hassell and CHS Surety to RHHC and Royce and Silvia Hassell, wrongfully benefitted from their

relationship with RHHC and Royce and Silvia Hassell and violated the contracts between them

and the conditions under which they were entered into.
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         16. Liberty Mutual refused to allow RHHC to file claims against the bonds on the

partnership projects claiming that RHHC and Royce and Silvia Hassell as co-indemnitors on the

bonds could not file claims, yet on the other hand Liberty Mutual allowed and stood by and

acquiesced while HCCI inconsistently and unilaterally converted the partnership projects and their

income to the exclusion of RHHC and Royce and Silvia Hassell. (Exhibit "G"). Meanwhile

Liberty Mutual insisted that if RHHC and Royce and Silvia Hassell wanted to meet with them,

RHHC would have to pay their attorney's fees and would not keep matter confidential. (Exhibit

"H").    As Phillip Hassell's wife and community property owner of his interest in Hassell

Management Services, LLC, Rosalyn Hassell was aware at the time she procured bonds for RHHC

and Royce and Silvia Hassell as principals that HCCI had lent approximately $2,000,000 to Hassell

Management, L.LC., which funds were unsecured, to fund the purchase of and development of

three subdivisions in Navasota thus jeopardizing the financial condition of HCCI and of the line

of credit which was used to perform the projects which were being bonded. Further, JPH, SHP and

MLH did not account for the funds borrowed and did not charge themselves interest for these

loans. After the continued inability of HCCI to refinance these amounts, HCCI then went after the

assets ofRHHC and Royce and Silvia Hassell to get these loans.

         17.   In August of 2012, without consent of RHHC, and after claiming that Liberty

Mutual had requested it, HCCI unilaterally took 2012 partnership trust funds pertaining to the

Transtar Emergency Building Project which work was being performed by the forces of RHHC

pursuant to the 2012 partnership agreement and deposited the funds with Beth Gary and her

company Southwest Escrow and Construction Services Group, LLC (hereafter jointly "Southwest

Escrow") (Exhibits "I" and "J"). On information and belief, Beth Gary is daughter of CHS Surety

director Scott Chapman who is Rosalyn Hassell's boss. Beth Gary and Southwest Escrow were
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informed that the funds pertaining to the Transtar Projects were partnership funds over which

RHHC had an interest and managerial control. Beth Gary and Southwest Escrow denied and

prevented RHHC's ownership interest in such funds to the exclusion of and damage to RHHC.

        18. JPH knew about the conflict concerns which RHHC had regarding Coats Rose and the

Springwoods Project damage claims ofRHHC. Notwithstanding the patently harmful use of Coats

Rose to assert claims based on the Springwoods Project against RHHC in this case, and the

repeated requested that HCCI use independent counsel, JPH sent a letter withdrawing his own

previous objections to the conflicts of interest of Coats Rose on the basis that he had lied about the

conflicts only "as part of an effort at family reconciliation." (Exhibit "K").

        19.    JPH, SHP and MLH acting in concert with each other engaged in acts of fraud and

conspiracy to defraud including signing and causing to be filed a fraudulent lien for purposes of

exerting financial coercion on RHHC and Royce and Silvia Hassell. (Exhibits "L" and "M").

Thereafter, JPH and representatives from CHS Insurance made disparaging and derogatory

statements regarding RHHC and Royce Hassell which were knowingly false when made an

intended to harm the interests of RHHC and Royce Hassell.


                             PARTIES SOUGHT TO BE JOINED

                                      JPH, SHP AND MLH

       20.     RHHC and Royce and Silvia Hassell seek to add claims herein against J. Phillip

Hassell, Shawn Hassell Potts and Michael Lee Hassell.


                                       Tortious Interference

       a.       Individually and acting in concert with each other both individually and as officers
and directors of HCCI, JPH, SHP and MLH tortiously interfered with the rights of RHHC and
Royce in its interest in the 2012 partnership projects and with RHHC's interest in the Springwoods
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Project and with prospective business relations ofRHHC causing RHHC to suffer actual damages
and loss.

        b.      'Individually and acting in concert with each other JPH, SHP and MLH have
tortiously interfered with the real property interests of Royce Hassell ("RJH") individually and
Silvia Hassell ("STH") individually and with the ability of RJH and STH to renew financing on
their personal real estate causing RJH and STH to suffer actual damages and loss.


                     Self-Dealing, Fraudulent Inducement, Fraud,
         Fraud by Non-Disclosure and Breach of Trust and Conspiracy to Defraud

        c.      JPH, SHP and MLH have engaged in self-dealing with the corporate assets of
Hassell Construction Company, Inc. without security or charging of interest, and usurped the
corporate opportunities of the company for themselves individually. MLH has violated his duties
as Trustee of the JCH Trust by engaging in self-dealing to the detriment of RJH as a beneficiary
of the JCH trust.


        d.     Individually and acting in concert with each other JPH, SHP and MLH made
material false representations to RJH and STH that they knew were false at the time of the
representations and that were made with the intention that RJH, STH and RHHC rely on them and
act on them to their detriment and with the intent to cause harm and which did cause harm.

Promissory Estoppel, Intentional Infliction of Emotional Distress, Business Disparagement

        e.      As a result of their representations and conduct JPH, SHP and MLH made during a
time of extreme illness of RJH and taking advantage of his physical condition and limitations, JPH,
SHP, and MLH are promissorily estopped from seeking to foreclose on the personal real estate of
RJH and STH through James C. Hassell or HCCI. JPH has made disparaging statements to third
party suppliers, owners and engineers which were false, and known to be false when made.

                                     Conversion and Theft

        f.     JPH, SHP and MLH converted the personal property of RJH from his locked desk
and locked him out of his offices. Acting in concert they aided and abetted HCCI in converting
the assets of RHHC through the use of a partnership which JPH has since sworn has never existed.


            COATS ROSE AND MICKY DAS, HCID 18, SPRINGWOODS REALTY
          COMPANY, LIBERTY MUTUAL, ROSALYN HASSELL, CHS INSURANCE
                    SERVICES, LLC AND SOUTHWEST ESCROW

       21.     RHHC and Royce and Silvia Hassell seek to add claims herein against the law firm

of Coats Rose and attorney Micky Das acting as agent for Coats Rose, HCID 18 as directed by
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Richard L. Rose, Springwoods Realty Company, Liberty Mutual, Rosalyn Hassell, CHS Insurance

Services, LLC and Southwest Escrow.


                                         Abuse of Process

        a.     In conspiracy with HCCI and individual members of the Hassell family including
JPH, SHP and MLH, Coats Rose and Micky Das caused RHHC and Royce and Silvia Hassell to
be served with process which was illegal, improper and a perverted use of the process after it was
issued. Coats Rose and Micky Das has an ulterior motive or purpose for using the process and
injury was suffered by RHHC and Royce and Silvia Hassell as a result.

  Fraud and Conspiracy to Defraud, Aiding and Abetting, Assisting or Participating, and
                                  Acting in Concert

        b.     Acting in concert with each other and with HCCI and members of the Hassell
family including James C. Hassell, JPH, SHP and MLH, Coats Rose, Micky Das, HCID 18,
Springwoods Realty Company, Liberty Mutual, Rosalyn Hassell, CHS Insurance Services, Inc.
and Southwest Escrow conspired to defraud RHHC and Royce and Silvia Hassell, tortiously
interfered with the contract rights ofRHHC in the Springwoods Project damage claims, and aided
and abetted HCCI in converting the assets of RHHC.



       c.      Acting in concert with each other Coats Rose, Micky Das, HCID 18, Micky Das,
Springwoods Realty Company, Liberty Mutual, Rosalyn Hassell, CHS Insurance Services, Inc.
and Southwest Escrow conspired to interfere with and destroy RHHC's contract rights in 2012
partnership projects and the Springwoods Project.


                                LEGAL ARGUMENT & AUTHORITY



       22.     Given that Arbitration is intended to alleviate issues of expense and delay, non-

joinder of the parties above listed would work contrary to the principles of arbitration by requiring

claims against third parties to be stayed pending arbitration and then litigated separately.

Similarly, the absence of the third parties which Movants herein request be joined will irreparably

affect the rights of Movants in disputes which are concurrently pending in this matter, in other

litigation, and in litigation which is certain to ensue in the future. Under the circumstances of this
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case, and unless equitable protections are afforded, the effect of these proceedings will be to

permanently close off claims and defenses of Movants. Movant corporations have been rendered

essentially defunct by the conduct of their opponents in arbitration, 100% of the personal real estate

Movants Royce and Silvia Hassell including their homestead is subject to liens wrongfully asserted

by Shawn Hassell Potts, Trustee and James C. Hassell and are subject to loss, and the valuable

damage claim ofRHHC against third parties in Judge Halbach's court has been commandeered by

HCCI although HCCI does not own the claim, HCCI did not perform the work, and HCCI is not

familiar with the facts of the case or the law and is thus not qualified to pursue RHHC's cause of

action although the case is scheduled to go to trial in May without the participation of RHHC.

        23.     Joinder will place minimal burdens on the original parties as common issues of law

or fact exist, certain claims arise out of the same transaction or occurrence, significant irreparable

harms to Movants will be caused if joinder is refused, a contractual link exists between the parties

sought to be joined, and the existing parties and third parties have an interest in the agreements at

issue between the exiting parties. Joinder will also aid in the efficiency of arbitration and allow

Movants the opportunity to present their full case. Additionally, joinder will allow for full relief

to be awarded to Movants. Attendant to joinder the Arbitrators have the authority to order

provisional measures and the inherent power to control the arbitral proceedings. For purposes of

ensuring that justice is done the Arbitrators may order joinder, severance and/or separate trials in

the interest of justice to order separate trials in conjunction with the joinder of parties. Protections

are necessary because of urgency, the need to protect the status quo between the parties during

arbitration, the need to stop HCCI from increasing the gravity harms to Movants pending

arbitration, and the need to ensure that any arbitration award would be enforceable.
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       24.     HCCI has compelled arbitration under an arbitration clause contained in a

"Construction Joint Venture Agreement" ("CJV A") which mandates arbitration of disputes

between "Joint Venturers" defined in the CJVA as signatory corporations including RHHC and

HCCI. The parties which Movants seek to join in the arbitration are not signatories to the

"Construction Joint Venture Agreement" or parties to the CJV A.

       25.     Texas procedural rules govern whether non-signatories are bound by arbitration

prov1s10ns. In re Weekly Homes, L.P., supra, at 130. Principles of equitable estoppel and agency

are used to bind non-signatories to arbitration clauses. In re Weekly Homes, L.P., 189 S.W. 3d

127, 131-135 (Tex, 2005). A party who has directly obtained a benefit from a contract can be

bound by its arbitration provisions. (Jn re First Merit Bank, NA., 52 S.W. 3d 749, 755-56 (Tex.

2001 ). Parties to a contract suing agents or affiliates of other parties to the contract for tortious

interference have also been compelled to arbitrate. See, In re Vesta Ins. Group, Inc., 192 S.W. 3d

759,762(Tex.2006).

       26.     Under Rule 51 of the Texas Rules of Civil Procedure "JOINDER OF CLAIMS

AND REMEDIES," a plaintiff or a defendant "may join either as independent or as alternate claims

as many claims either legal or equitable or both as he may have against an opposing party. . .

There may be a like joinder of cross claims or third-party claims if the requirements of Rules 38

and 97, respectively are satisfied." Tex. R Civ. P. 38, THIRD PARTY PRACTICE, allows a

defendant "[a]t any time after commencement of the action" to bring in a party "who is or may be

liable to him or to the plaintiff for all or part of the plaintiffs claim against him" as a third party

defendant.     Tex. R. Civ. P. 97, "COUNTERCLAIM AND CROSS-CLAIMS" permits separate

trials and separate judgments on a counterclaim or cross-claim as provided in Rule 174. Tex. R.
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Civ. P. 174 permits orders concerning consolidated proceedings to avoid unnecessary costs and

delays and permits separate trials "to avoid prejudice." Tex. R. Civ. P. 174(a) and (b).

        27.     Tex. R. Civ. P. 39 "JOINDER OF PERSONS NEEDED FOR JUST

ADJUDICATION" provides that a party "shall be joined" if "in his absence complete relief cannot

be accorded among those already parties" or if "he claims an interest relating to the subject of the

action and is so situated that the disposition of the action in his absence may (i) as a practical matter

impair or impeded his ability to protect that interest or (ii) leave any of the persons already parties

subject to a substantial risk of incurring double, multiple, or otherwise inconsistent obligations by

reason of his claimed interest." 3

        28.     Tex. R. Civ. P. 40, "PERMISSIVE JOINDER OF PARTIES" allows persons to be

joined in one action as plaintiff, "if they assert any right to relief jointly, severally, or in the

alternative in respect of or arising out of the same transaction, occurrence, or series of transactions

or occurrences and if any question of law or fact common to all of them will arise in the action."

And to be joined as defendants, "if there is asserted against them jointly, severally, or in the

alternative any right to relief in respect of or arising out of the same transaction, occurrence, or

series of transactions or occurrences and if any question of law or fact common to all of them will

arise in the action." Tex. R. Civ. P. 40(a). Notably, "[a] plaintiff or defendant need not be



 3
  Notably, Rule 39 also provides that "[i]f a person as described in subdivision (a)(l)-(2) hereof
 cannot be made a party, the court shall determine whether in equity and good conscience the
 action should proceed among the parties before it, or should be dismissed, the absent person
 being thus regarded as indispensable." Factors to be considered in fashioning such relief
 include the extent to which a judgment rendered in that person's absence might be prejudicial to
 him or those already parties, the extent to which by protective provisions in the judgment, "the
 shaping ofrelief, or other measures, the prejudice can be lessened or avoided," whether judgment
 in the persons absence will be "adequate," and whether the party "will have an adequate remedy
 if the action is dismissed for non-joinder." Tex. R. Civ. P. 39.
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interested in obtaining or defending against all the relief demanded. Judgment may be given for

one or more of the plaintiffs according to their respective rights to relief, and against one or more

defendants according to their respective liabilities." Id. In joinder situations separate trials may

be ordered and "[t]he court may make such orders as will prevent a party from being embarrassed,

delayed, or put to expense by the inclusion of a party against whom he asserts no claim and who

asserts no claim against him, and may order separate trials or make other orders to prevent delay

or prejudice." Tex. R. Civ. P. 40(b).

       For these reasons RHHC and Royce and Silvia Hassell request that they be allowed to join

the parties and claims hereinabove listed.

                                              Respectfully submitted,

                                              Silvia T. Hassell
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                      EXHIBIT A
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Case 19-03452 Document 1-22 Filed in TXSB on 05/03/19 Page 22 of 62
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                                              AMENDMENT #1 TO THE GENERAL AGREEMENT OF INDEMNITY


                 This Amendment 6hall be attached to and form part .of lhe General Agreemenl of Indemnity made and entered into by~
                 CpMtruoljon Comppn•. Inc, Hesoetl Mommcmont SeMOOs. LLC. James C Has•all lnter-Yws Trusl. J~ l!l!l • C H1!$soll.
                 ~ani•• p, l·fai;~o ll Bosetvn D. Hpssel!. E.J. Babececk. Barbara D. Be!.lecqci!. Michael L. tla••eU S~ndm A. tf~
                 M. Polls. Md KurtA Polls in fnvor of.tho Surely, do1od lhe l!'.:'._c!ay c f ~ 26fil! (hereinafter "Aarcomenl"). It lo horeby
                 agreed lhat:


                      1.   All capitalized terms net defined In this Amendment shall have the meaning given them in th• Agreement.

                     2.    This Amendment shall take effect and fonn part of the Agreement Immediately upon execution.

                     3.    The lo!lowlng individual(•) and/or businoss enlllles shall be added to the Agreement as lndemnllor(s) and Prlnclpal(s)
                           and' shall be bound by all of ile terme for all Bonds issued pursuant lo the Agreement, whether such Bonds were
                           Issued before or after the execuUon or thie Amendment or before or after lhe date of lhe Agreement. but only for
                           bonded projects wherein any work is subcontracted to or perfonned by any of the following Individuals or business
                           entitles or any of their subsidiaries or affiliates, whether preeent or future, and whether direcUy or Indirectly held:

                           R. Hessell Hofdlng Companies Inc.
                           R. Hassell Bu"ders Inc.
                           R. Hassell & Compenv, Inc.
                           Royce J. Hassell
                           Siivia T Haseell

                     .4.   Pursuant to Paragraph SIXTEENTH or the Agreement. the addlUon to lhe Agreement oflhe lndemnltor(s) named In
                           Paragraph 3 above shall b<i effecled by written amendment executed by such lndemnilllr only.


                 IN WITNESS WHEREOF, we have signed and sealed !hls          lL day of Jt':I "''-"/\o""( .20.J.L.....
                 By affixing their signatures hereto, each lndemnl!or signing on behalf of a business 611\ity warrants that each is duly     auth~Jized
                 by lnder;nnilor to bind lndemnllor hereto.                                                                                       · ..

                 WITNESS/ATIE ST:
                                                                                  R Hassell Holdjng Comoanies Inc.                 (§~~.§D---     · ·
                                                                                  T.l.N. XX-XXXXXXX
                                                                                  3550Willowbend Blvd, Houston, TX 77054



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                 By:        b/
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                 Hassell-Add lndemnitors lo GAi                                                                             1111



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Case 19-03452 Document 1-22 Filed in TXSB on 05/03/19 Page 24 of 62


                   Witness                                                         Royce J. Hassell


                                          .J                                       Siivia I Hassell
                                                                                   S.S.N. XXX-XX-XXXX




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                                                                                   SiMa J , Hoo""ll                                           "




                CORPORATE ACKNOWLEDGMENT
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                _ _ _ _ _ __ _ _ of                               R. Hessell Holdino Comoanles. Inc                           ,the corporal/on descnbed
                in and Which executed the foregoing General Agreement of Indemnity; and who being by me duly sworn, depose end say lhal \hel
                they know the seal of seld corporation: \hal lhe seal affixed lo said Agreement i• such corporate eeal; that It was so affixed by the
                order of \he Board of Dlroclors of said corporellon, and that ltley signed their nameo thereto by like order.

                IN WITNESS WHEREOF, I have hereunto set my hand and affixed my OFFICIAL SEAL the day end year nmt above wriUen.




                                                                                 Notary Public, residing al
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                                                                                                                          Roves J Hessell
                                                                                                                                      secretary
                - - -------°'                           R Hassell Builders Inc                                  ,the corpora11on described in and
                which executed Iha foregoing General Agreement of lndamnlly; and who being by me duly sworn, depose and say lhel lhat they know
                the seal of said corporation; that the seal amxed to said Agreement is such corporate seal; that It was so aHixed by the order ol the
                Board ofDlrectors ol seld corporation, and ltlat they signed their names thereto by like Ofdar.

                IN WITNESS WHEREOF, I have hereunto set my hand and affixed my OFFICIAL SEAL the day and year Hrs[ above wrllten.


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                CORPORATE ACKNOWLEDGMENT

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                which executed \he foregoing General Agreement of Indemnity; and who being by mo duly sworn, depose and say 1tlat that they know
                tho oee! of said corporation; Iha\ the seal affixed to said Agreement is such corporate seal; !hat it was so affixed by Iha order or the
                Board ofDlrectors ofeald corporation, and that they signed 1heir names thereto by like order.

                IN WITNESS WHEREOF, l have hereunto ••t my hand and affixed my OFFICIAL SEAL \he day and year first above written.



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                - -- - -- - - - · known by me \O be the person who is identified in and who executed the foregoing General Agreement
                of Indemnity, and who being by me duly sworn, deposes and says that (s)he executed said Agreement

                IN WITNESS WHEREOF, I have hereunto set my hand and affixed my OFFICIAL SEAL the doy and year first above wr11ten.




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                or Indemnity, end who being by ma duly sworn, deposes and says that (•)ha executed said Agreement.
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                       EXHIBIT B
        Case 19-03452 Document 1-22 Filed in TXSB on 05/03/19 Page 27 of 62
05/21/2013 TUE 14:13          FAX                                                                                                               ~002/009




                                        COATS .ROSE·
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                                                                                                                                     (713) Ci5)o"{)\)()
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                                                                  May21, 2013



        Via Fac~imili?:        713-963-9169
        Certified Mail - Retum lleceipt Requested
        Mr. Pasc::i.I Pia:1.:.r.u
        Zukowski, Brcscnhan, Sincx & Petry, L.L.P . .
        1177 West Loop South, Si.iite 1i00
        Hou!'llon, Texas 77027

        Re;:      Ilas.sell Buildt.ws, LT.,C



          .     011 behL\lf of Hassell Builders, LLC, you have 3.dviscd our firm that R Hassell Duilders,
        lnc. believes tl1'lt a conflict of.interest existed with respect to our fitm's r~prest:ntation of Gu.11
        Construction of America Limited. ln the followii~g ·matters urh1ing ou~ ctr a constructl.on contract
        between R. T-fassell Build~r:-;, Int;. und Gall Consl:rtlctfon of i\rhctica LimitCd concerning .
        coilsttU'clion oft11c Bellaire :rown Square l•'amily Aquat~c Center: · ·
.·                                                                                                                                              ..
                  G.all Conslru~tion: of A merit:a, l,imiied v. .R. Ila.~sell Builder.~., .Jnc. ~ Cause Number 20 P-
                  70117. in lhe 295tll .Tudicia1 District Court of .Harris County, t~aS; and

                   Tn the' Mauer of' the Arhitratfoh. JJetwetfn Gall ConstJ>Uctlon of Ainerica: Limited vs .. R:.
                 · Ha..\'.\·e.ll Builde;s, inc., .'Case Number 50 110 T 00188 1, .in th~ Am~ricw1 Arhitraljnn ·.
                   Association .

                 . R. Hus:-;~ll Co.n~tructio11? Inc. consulted with.Pat Uaas and Heather As.selin of ow· nrm i11 .
        Jam:irtty of 2012. lt is . my understanding thut an initial in'te"rVi~w took plac~ hetwe.ett
      . ,represe11tative:s of Tl. Hass~ll Ccmstrucliot'l, Inc. a11d Mr. Gaas and ·.Ms. Asselin, and that
        subsequent uUempts were :rnade by them to obtain documentation and inform.ntio,, to enahl~.them
        to provide advice to R. Hassell Construction, .Inc .. IIowev~r, it is ah;<> my undei-slanding that the
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        Case 19-03452 Document 1-22 Filed in TXSB on 05/03/19 Page 28 of 62
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                I would also note that the engagement letter state~ Lhat the malteni tqJ0(1· which~". Huss-ell " ..
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                and Sylvia Hc.1..o;~ll.                                                                   ·

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         Mr. Gaas .and Ms. Asselin; however, you hav~ not i;i1ticulhl,.,J the exue.t inf<.innu(ion otller than in
        .'generalities. It app~ars that the conccm ()f Hr.Hscll .Bullders; Inc, is tlial S()mehow tlli~· ·.
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         the construction cont1·act litigi\ticm:

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                restricted to those persons involved it~ ~hat case;            ·           ·                        .·

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                Jvfr. Gmti5 und· Ms. ·Asselin will be instructed not to discuss the coustruc:tion
                r.}onlract litigation or a1ty· 1nalte·rn relating· lo Hasstil Conslructicm, Tnc.
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        particulars of that claim so ~ sny new informatlo~ can :be evaluated.             ·             ·             ·

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                      EXHIBIT C
     Case 19-03452 Document 1-22 Filed in TXSB on 05/03/19 Page 30 of 62




       'fl\\:'\.
      ·~
                 .                    12211 DUNCAN ROAD
                                      HOUSTON, TEXAS 77066
                                      PH. 281 893-2570 Fax 281 580 ..9170
       HASSELL                        Established 1976

March 26, 2013

Mr. Pascal Piazza
Zukowski Bresenhan, Sinex & Petry,.L.L.P.
1177 West Loop.South, Suite 1100
Houston, Texas 77027

Dear Pascal:

Hassell Construction Company, Inc. hired the law firm of Coats, Rose, Yale, Ryman.Lee
to assist in assessing and proceeding in its relationship with Royce Hassell and R. Hassell
and Company, Inc. and R. Hassell Builders. This consultation was made both as a family
and on behalf of Hassell Construction and the R. Hassell Companies because these are
companies owned by members of the same family, we were jointly worldng on several
large projects, and it was our desire for a positive outcome for all involved. During that
consultation we provided the law firm with confidential information regarding the
relationships of Hassell Construction Company, the R. Hassell Companies, Royce
Hassell, Jim Hassell and the Hassell family.

Now Coats, Rose is representing Gall and Hassell's current bonding company,
Safeco/Liberty Mutual, against R. Hassell. Safeco/Liberty Mutual has bonded and
currently bonds joint projects of Hassell Construction Company and the R. Hassell
Companies. We want to malce sure all the confidential information we shared with Coats,
Rose in the process of our consultation remains privileged and confidential from both
Gall and our cu11'ent bonding company. We do not see how it is possible for Coats Rose
to represent these parties against us when we have confided in them in the process of
getting their advice and they represent our bonding company.
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We think Coats Rose has a conflict and should withdraw from representing these parties
against us.




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Royce J. Hassell
R. Hassell Builders, Inc.
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                      EXHIBIT D
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                                          No. 2012-42981

HASSELL CONSTRUCTION CO., INC.,              §              ·IN THE DISTRICT COURT OF
       Plaintiff                             §
                                             §
v.                                           §
                                             §
                                             §
SPRINGWOODS REALTY COMPANY AND               §
HARRIS COUNTY IMPROVEMENT DISTRICT 18, §
        Defendants and Third-Party Plaintiffs §
                                              §             HARRIS COUNTY,     T EX A S
v.                                            §
                                              §
Walter P. Moore,                              §
        Third-party Defendant and             §
        Third-party Plaintiff                 §
                                              §
v.                                            §
                                              §
Costello Engineering,                         §
               Third-party Defendant          §             333RD JUDICIAL DISTRICT COURT




                    PETITION IN INTERVENTION OF R. HASSELL & COMPANY, INC.,
                  R. HASSELL BUILDERS, INC., R. HASSELL HOLDING COMPANY, INC.,
                                  AND ROYCE and SILVIA HASSELL


        Intervenors, R. Hassell & Company, Inc., R. Hassell Builders, Inc., and R. Hassell Holding

Company, Inc., Royce Hassell and Sil via Hassell file this petition in intervention as party-

plaintiffs.

                                           A. Parties

        1.     Intervenors R. Hassell & .Company, Inc., R. Hassell Builders, Inc. and R. Hassell

Holding Company, Inc. are Texas Corporations. (The R. Hassell Companies are hereinafter jointly

referred to as "RHC. ") Intervenors Royce Hassell and Silvia Hassell are individuals who reside in

Harris County, Texas.
  Case 19-03452 Document 1-22 Filed in TXSB on 05/03/19 Page 34 of 62




       2.      Plaintiff, Hassell Construction Company, Inc., ("HCCI") is a Texas corporation. A

copy of this petition will be forwarded to Bogdam Rentea, attorney of record for Hassell

Construction Company, Inc. at 505 W. 12th Street, Suite 206, Austin, Texas 78701, under the

provisions of Texas Rules of Civil Procedure 21 ru:i-<;I 21a.

        3.     Defendant and Third Party Plaintiff; Springwoods Realty Company ("Springwoods

Realty"), has appeared and   ~swered.     A copy of this petition will be forwarded to Timothy M.

McDaniel and Eileen Hohlt, attorneys of record for defendant Springwoods Realty at Two

Greenway Plaza, Suite 1030, Houston, Texas 77046, under the provisions of Rules 21 and 2la.

       4.      Defendant and Third Party Plaintiff, Harris County IQ:lprovement District 18

("HCID 18"), has appeared and answered. A copy of this petition will be forwarded to John

EngvaJl, Jr. and Warren Wise, attorneys of record for defendant and third party plaintiff Harris

County Improvement District 18 at 1811 Bering, Suite 210, Houston, Texas 77027, under the

provisions of Rules 21 and 2la.

       5.      Third-Party Defendant and Third-Party Plaintiff, Walter P. Moore, has appeared

and answered. A copy of this petition will be forwarded to Gregory N. Zeigler and Jason Burris,

attorneys of record for third-party defendant and third-party plaintiff Walter P. Moore (hereafter

sometime "WPM") at 3800 Renaissance Tower, 1201 Elm Street, Dallas, Texas            75270~2130,


under the provisions of Rules 21and2la.

       6.      Third-Party Defendant, Costello Engineering ("Costello"), has appeared and

answered.    A copy of this petition will be forwarded to John Cahill, attorney of record for

defendant Costello at 1233 West Loop South, Suite 1000, Houston, Texas 77027, under the

provisions of Rules 21 and 2la.
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       7.      Defendant Coats, Rose, Yale, Ryman and Lee ("Coats Rose") is a Texas legal

professional corporation doing business in the state of Texas. Coats Rose may be served with

process in this case by serving its registered agent, Richard L. Rose, at 3 Greenway Plaza, Suite

2000, Houston, Texas 77046. Individual attorneys of Coats Rose whose conduct is complained of

herein include Coats Rose's President and Managing Director, Richard L. Rose, and Coats Rose

Vice-Presidents Patrick Gaas and Heather Asselin.

                                    B. The Original Lawsuit

       8.      Intervenors R. Hassell & Company, Inc., R. Hassell Builders, Inc. and R. Hassell

Holding Company, Inc. (hereafter jointly referred to as "RHC") are partners of the plaintiff, Hassell

Construction Company, Inc., in a relationship which began in 2008 (hereafter sometimes referred

to as the "Hassell 2008 JV" or "HCCVRHC"). As partners, HCCI and RHC pursued and executed

selected construction projects in Harris County, Texas. Pursuant to this relationship in 2011 HCCI

and RHC agreed to jointly bid, and as low bidder agreed to perform, the "Springwoods Project"

made the subject of the original suit under the name Hassell Construction Company, Inc. The joint

venture relationship between HCCI and RHC on the Springwoods Project was disclosed to, and

noted by, the Owners HCID 18 and Springwoods Realty prior to the contract award. RHC

provided project management and performed the work on the Springwoods Project utilizing RHC

equipment and personnel. Progress payment reports for the work that RHC performed were

submitted by HCCI directly to the Owners. HCCI and RHC split the proceeds received from the

Springwoods Project with   ~9%   to RHC and 1% to HCCI.

       9.      The original lawsuit for RHC's damages was filed in July of 2012 and originally

jointly pursued by partners HCCI and RHC under the name HCCI representing the partnership.

Discovery in the original suit revealed HCCI/RHC had been victims of frauds perpetrated by the
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original Springwoods Realty, acting in concert with others including HCID 18 and Walter P.

Moore. Based on these discoveries, in the original suit HCCI amended its claims alleging that

defendant Springwoods Realty perpetrated a string-a-long fraud after the Springwoods Project

contract was entered into in order to meet Exxon's deadlines and to keep HCCI/RHC on the job

despite plan defects, expected future plan changes and ba8eless threats of being found in default

for questioning such plans.

           10.   The original suit was filed on July 26, 2012.        HCCI/RHC sued defendants

Springwoods Realty and HCID 18 for the damages incurred by RHC attendant to construction

work performed on the Springwoods Project. On August 17, 2012, defendantHCID 18 appeared

and answered. On August 31, 2012, Springwoods Realty appeared and answered. On September

23, 2013, defendant Springwoods Realty filed a third-party petition against Walter P. Moore. On

September 25, 2013, defendant HCID 18 filed a third-party petition against the project engineer

Walter P. Moore. On October 21, 2013, Walter P. Moore filed its original answer to the third party

petitions of Springwoods Realty and HCID 18. On May 9, 2014, third-party defendant Walter P.

Moore filed its third party petition against Costello. On May 22, 2014, third-party defendant

Costello filed its original answer to the third party petition of Walter P. Moore.

           11.   Discovery in the original suit also forms the basis of the fraud claims against

Springwoods Realty and those acting in concert with them form the basis of the fraud claims

contained in the "Third Amended Original Petition" of HCCI/RHC. It should be noted that

although substantial documents have been exchanged in this case, the defendants have forestalled

oral depositions requested by HCCI. In fact, no oral depositions have yet been taken despite being

noticed.
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       12.     The amendments to the original lawsuit are also based on the discovery in the

original lawsuit demonstrating that HCCI was the victim of the further fraud involving a

conspiracy by Springwoods Realty in concert with HCID 18, Exxon and Walter P. Moore to avoid

pre-paying or bearing any of the increased expenses associated with defectiv'e plans, design

changes and attendant delays, interruptions and increased costs resulting from the defective plans

and design changes. Instead, despite hundreds of plan changes and design corrections, HCCI/RHC

was nevertheless ordered and threatened to "proceed with due diligence" on the Springwoods

Project construction in order to satisfy Exxon's requirements or otherwise face damage claims

against them by HCID 18 and Springwoods Realty, or, worse yet, face claims by the defendants

against HCCI and RH C's joint surety on the Springwoods Project, Liberty Mutual. The defendants,

in fact, did file a claim against HCCI and RHC's surety bond on the Springwoods Project.

       13.     Discovery in the original lawsuit further reveals HCID 18, Springwoods Realty,

and Walter P. Moore jointly conspired to force RHC to front the expense and finance the enormous

additional costs associated with secretly known future changes combined with gross errors in the

plans. Further, HCID 18, Springwoods Realty, Exxon and Walter P. Moore jointly conspired to

misrepresent the nature of the required corrections, design changes and extra costs attendant to

such changes with the intention of later improperly recouping these costs from the tax-paying

public through future bond offerings.

       14.    Intervenors incorporate by reference the allegations asserted by HCCI/RHC against

defendants contained in the "Plaintiffs Third Amended Original Petition" which was filed on

August 29, 2014.    (Exhibit "A").      The defendants Springwoods Realty and HCID 18 have

previously filed answers denying liability. The defendants Springwoods Realty and HCID 18 sued

as Third Party Defendants Walter P. Moore,     pr~ject   engineers, and with a certificate of merit
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affidavit of engineer Douglas E. Bell, P.E. asserted that if Hassell's claims are successful that

Walter P. Moore "contributed to or caused, in whole or in part, the damages sought by Hassell."

Third Party Defendant Walter P. Moore, in tum, interpleaded Costello, Inc. ("Costello") as Third

Party Defendant seeking contribution from Costello for the damages claimed by HCCI for the

reason that if plaintiffs allegations are true then WPM alleges that Costello was "negligent in the

performance of its services and or failed to provide services within the applicable standard of care

in the construction industry and in accordance with generally accepted practices and procedures."

                                C. lntervenol's' Causes of Action

                                       INTRODUCTION

       15.     Rule 60 of the Texas Rules of Civil Procedure allows parties with a justiciable

interest in a pending suit to intervene in the suit as a matter pf right. In re Union Carbide Corp.,

273 S.W.3d 152, 154 (Tex. 2008) (orig. proceeding) (per curiam) (citing Guar. Fed. Sav. Bank v.

Horseshoe Operating Co., 793 S. W.2d 652, 657 (Tex. 1990)). The claims of Intervenors RHC

against defendants HCID 18 and Springwoods Realty arise from the claims made in the original

suit by their partner, HCCI. RHC, as partner ofHCCI, could have brought part or all of the original

suit in its own name. The claims oflntervenor RHC against the law firm of Coats Rose arise from

the claims in the original suit and Coats Rose's attempts to defend the original claims made by

HCCI/RHC against HCID 18 and Springwoods Realty by tortious interference in the relationship

of HCCI and RHC. The Intervention claims against HCCI and Coats Rose of Royce and Silvia

Hassell, who are co-owners of RHC and as such agreed to personally guaranty certain debts

incurred by RHC arising from the Springwoods Project frauds perpetrated by Springwoods Realty,

HCID 18, and Coats Rose.
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        16.     As additional grounds for this Intervention, Rule 28 of the Texas Rules of Civil

Procedure permits a partnership or unincorporated association which has been doing business

under a common name to sue or be sued in its common name. HCCI and RHC, as partners,

performed the Springwoods Project under the name HCCI. Because of its partnership relationship

with HCCI pertaining to the Springwoods Project, and RHC's work performed on the Springwoods

Project., RHC is permitted   to pursue the damage claims of the partnership against the defendants
in this cause under in its own name. 'RHC's damage claims arise from the Springwood Project, are

an integral part of the damage claims brought by its partner HCCI in the original suit, and

essentially must be resolved in this case for proper adjudication. As a result of HCCI's breaches

of fiduciary duty and repudiation of its Hassell 2008 N partnership with RHC, however, HCCI

no longer is representing the interest of RHC in this case.

        17.    Intervenors incorporate the facts and causes of action alleged in the "Plaintiffs

Third J\mended Original Petition'' previously filed in this case. In further support of their "Petition

In Intervention" Intervenors make the allegations contained in paragraphs 1 through 61 herein.

        18.    R. Hassell & Company, Inc., R. Hassell Builders, Inc. and R. Hassell Holding

Company, Inc. are corporations owned by Intervenors Royce and Silvia Hassell         ~d   managed by

Royce J. Hassell ("Royce") who is President of each of the companies. Original Plaintiff HCCI is

owned by various Hassell family members, including Royce Hassell. Phillip Hassell, Royce's
                                        (

brother, is currently President and a Director of Hassell Construction Company, Inc., although in

the past James C. Hassell, Royce's father, and Royce Hassell have each served terms as President

ofHCCI. James C. Hassell, Royce's father is currently C.E. 0. of HCCI although at 79 years of age

is retired . .Royce owns stock individually in HCCI and, is also a beneficial owner of shares of

Hassell Construction Co., Inc. through the-James C. Hassell Intervivos Trust.        Royce's brother,
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Michael Hassell, also an officer and Director of HCCI, is the Trustee of the James C. Hassell

Intervivos Trust. Royce was the original Trustee of the James C. Hassell lntervivos Trust. At

various times throughout the existence of HCCI Royce Hassell has also held positions as

employee, officer and director ofHCCI.
                                                     -.
        19.    In 2008 HCCI and RHC entered into an oral partnership agreement, the Hassell

2008 JV to carry on a business for profit pertaining to selected construction projects. Beginning

in January of 2011, the Hassell 2008 JV agreed to jointly obtain bonding for such projects. To that

end RHC as well as Royce and Silvia Hassell became Principals and Co-Indemnitors of the Hassell
                                                                                              I
2008 JV for bonds issued by Liberty Mutual Insurance Company, Employers Insurance Company

of Wausau, and Peerless Insurance Company (hereafter "Liberty Mutual").               Thereafter, the

partners agreed to bid on and perform the Springwoods Project.

       20.     The agreement between HCCI and RHC pertaining to the Springwoods Project and

the Hassell 2008 JV gave RHC the right to receive its share of the profits of the business, the right

to participate in control of the business, the duty to share in the losses of the business-and/or

liability for claims by third parties against the business, and the duty to contribute money or

property to the business. (Tex. Bus. Org. Code§ 152.052(a).) RHC        fai~fully   fulfilled its duties

and obligations pertaining to the Springwoods Project under the partnership agreement.

       21.     An association of two or more businesses to carry on a business for profit as owners

creates a partnership, regardless of whether businesses intend to create a partnership, or the

association is called a "partnership," 'joint venture," or other name. Tex. Bus. Org. Code §

152.05l(b). A joint venture is governed by the same rules as a partnership. Ingram v. Deere, 288

S.W.2d 886, 894 n.2 (Tex. 2009) ("We see no legal or logical reason for distinguishing a joint
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    venture from a partnership on the question of formation of the entity. In fact, a joint venture that

    satisfies the definition of 'partnership' is a partnership subject to TRP A" (citations omitted)).

            22.     The Hassell family relationships, as well as the relationship of HCCI and RHC in

    the Hassell 2008 JV was questioned by and discussed with the Owners' representatives on the

    Springwoods Project prior to contract award. Phillip Hassell personally answered the query and

    described the extensive relationship of closeness and trust of the family members and their related
\                                                                           .
    corporations. Phillip Hassell used words to the effect of "Royce and I are brothers. These are

    Hassell family corporations. On this project HCCI and RHC are the same: when you see one you

    see the other.11 The COJ?bined family and business relationship created a special relationship of

    confidence between HCCI and RHC as well as between Royce and Phillip Hassell. The special

    nature of this relationship was particularly affected by the facts that just weeks prior to that meeting

    Royce had almost. died from pulmonary embolisms related to the end stage renal disease from

    which he was suffering and through which his family had agreed to "help" him.

            23.     As a result of its relationships with plaintiffHCCI, Intervenor RHC, has a present,

    justiciable interest in the original subject matter of this suit, i.e., pursuant to its agreement with

    HCCI, RHC is the owner of and entitled to the damages sought against the defendants HCID 18

    and Springwoods Realty in the original suit. Intervenors, Royce and Silvia Hassell, have a present

    justiciable interest in the original subject matter of this suit as owners of RHC and guarantors of

    RHC's debts which were incurred as a result of the frauds perpetrated on HCCl/RHC by the

· defendants in the original suit acting in concert with Exxon, Walter P. Moore and Coats Rose.

            24.    Intervenors RHC and Royce and Silvia Hassell meet the three part test for

    Intervention enunciated by the Texas Supreme Court in Guaranty Federal Savings Bank v.

    Horseshoe Operating Company,         793 S.W.2d 652, 657 (Tex. 1990): (1) Intervenors have a
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justiciable interest in the case-i.e., Intervenors could have brought the s<µne action in their own

name; (2) the inten1ention will not complicate the case by an excessive multiplication of the issues,

and (3) the intervention is almost essential to effectively protect the intervenor's interest.

       . 25.      Defendant Springwoods Realty has recognized that Intervenors have justiciable

interest in this litigation citing relevant factors in its "Motion to Compel Compliance with

Subpoenas and Production Documents from Royce Hassell Companies" filed August 8 in this case

(document number 61898149). Springwoods Realty alleges that: "Some if not all of these [RHC]

companies have performed work and/or rendered services for Plaintiff Hassell Construction

Company, Inc. ("Hassell Construction") in connection with the project at issue in this litigation

(the "Springwoods Project"). Some if not all of the [RHC] companies have claims back against

Hassell Construction relating to intra-family loans and the Springwoods Project." (para. 1).

    INTERVENOR'S CLAIMS AGAINST SPRINGWOODS REALTY AND HCID 18
                    FOR FRAUDULENT INDUCEMENT

        26.       Intervenor RHC asserts claims against original defendants Springwoods Realty and

HCID   ~8   for fraudulent inducement pertaining to the Springwoods Project contract. Discovery in

the original suit demonstrates that at the time the Springwoods Project contract was awarded

Exxon's     ca..~pus   designs ",vere not complete a..'1.d finalized. Despite !r'"'"'lo'.:v!edge that the p!a..11s

provided to bidders and relied on by HCCI/RHC were not final, complete, or intended to be

constructed as shown, HCID 18 and Springwoods Realty made false representations to HCCI/RHC

which they relied on in bidding the project and entering into the Springwoods Project contract.

Although not ready for construction, HCID 18 and Springwoods Realty did not desire to delay the

Exxon required improvements to service the development of Exxon's campus:


        A continued downturn in the economic conditions of Houston and further decline
        in the nation's condition could adversely affect development in the District and
        restrain the growth of the District's property ta\: base. Furthermore, development
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       in the District is almost entirely dependent upon the development of a campus to
       be developed in the District by ExxonMobil or an affiliate thereof. ... Failure of
       ExxonMobil to complete its campus or to limit development of its campus could
       severely decrease property values in the District and negatively affect the ability of
       existing taxpayers in the District to make payment or timely payments of property
       taxes. If any one or more of the principal District taxpayers did not pay taxes due,
       the District might need to levy additional taxes or use other debt service funds
       available to meets its debt service requirements . (Harris County Improvement
       District 18 "Official Statement" dated February 27, 2013, pp. 14, http://www.i-
       dealprospectus.com/PDF/2_58662.pdf).


       27.    Notwithstanding the prior knowledge that the Springwoods Project plans would

have to be changed as decisions were made, Springwoods Realty and HCID 18 made

representations to HCCI/RHC that the plans issued were to be the plans constructed, that time was
                                                                 .             .
of the essence and that the construction was expected to be completed within 270 calendar days of

the Notice to Proceed. After contract award and after RHC commenced construction, RHC was

delayed in the construction so that Exxon's designs and the Grand Parkway drainage changes could
                                                      r

be incorporated into the plans already under construction. Additionally, the defendants were aware

that the Springwoods Project plans also contained errors which HCID 18, Springwoods Realty,

Exxon, and Walter P. Moore intended to correct in the future as construction was on-going.

       28.     Discovery in this case demonstrates that before. the Springwoods Project contract

was put out for bid and before the Springwoods Project contract was awarded, HCID 18,

Springwoods Realty, Exxon and Walter ·P. Moore knew that the designs for the Springwoods

Project construction would be changed, were intended to be substantially revised and that the

project would essentially be a "design as you go" project due to several contingencies which had

yet to be worked out of which the defendants were aware. For many of these known future

contingencies HCID 18 and S pringwoods Realty were acting as the agents of Exxon and taking

direction from Exxon on changes to be made to the plans. HCID i'8, Springwoods Realty, Walter
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P. Moore and Exxon had entered into agreements pertaining to the Springwoods Project contract

for the work to be performed by HCCI and RHC which entailed strict deadlines .for certain

milestones. Such agreements included Exxon created deadlines which Springwoods Realty, HCID

18 and Walter P. Moore agreed to meet. HCID 18, Springwoods Realty, and Walter P. Moore in

turn, incorporated deadlines into HCCl's contract knowing, however, that because of outstanding

contingencies meeting such deadlines would entail enormous additional costs.

       29.     Discovery further demonstrates that HCID 18 and Springwoods Realty, aided,

abetted, encouraged, ass_isted and acted in concert with Exxon and Walter P. ·Moore, jointly

deceived HCCI and RHC as to the readiness, completeness and accuracy of the construction plans

knowing they would necessarily be extensively changed. Additionally, HCID 18, Springwoods

Realty and Walter P. Moore were aware that th~ bioswales plans were experimental, part of a pilot

study, would probably require substantial revisions and might even be eliminated altogether

depending on unknown contingencies.

       30.     Discovery further demonstrates that HCID 18, Springwoods Realty, Walter P. ·

Moore and Exxon had no desire or intention of paying the increased costs that the plan changes

due to contingencies and future changes would entail. As such when HCCl/RHC began making

claims for delays, interruptions and inefficiencies resulting from the hundreds of plan   chang~s,


HCID 18, Springwoods Realty, Walter P. Moore, and Exxon conspired to delay paying and shift

these costs first to RHC, and eventually to the taxpaying public through public bond offerings.

       31.     The false representations regarding the completeness and final nature of the plans

provided 'to HCCI and RHC were material as they fonned the basis of RH C's bid, its calculation

of costs and its calculation of anticipated profits. The representations were false when made as

demonstrated by the documents produced in this case as well as further supported by the hundreds
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of plan changes which were subsequently made to the Springwoods Project plans to accommodate

the relocation of certain Exxon facilities and changed requirements, as a result of design changes

required by the subsequent approval of a drainage plan for the entire Springwoods Village facility,

and. as a result of the multiple re-designs and uncertainties associated with the bio-swales.

Discovery also demonstrates that HCID 18, Springwoods Realty, Walter P. Moore and Exxon

knew that the plans relied on by HCCl/RHC for its bid were not intended to be the actual plans for

construction, yet the defendants conspired to conceal these fact from HCCI and RHC by making

false and misleading representations to the contrary. The false and misleading representations

were made with the intent that HCCI and RHC rely on them. HCCI and RHC did rely on the false

and misleading representations in making its bid. The falseness of the representations caused
                            \


HCCI and RHC injury.

 INTERVENORS' CROSS CLAIMS AGAINST HCCI FOR BREACH OF FIDUCIARY
        DUTY AND REPUDIATION OF PARTNERSHIP AGREEMENT


       32.     Intervenor RHC makes cross-claim against HCCI for breach of the Hassell 2008

JV partnership between HCCI and RHC pertaining to the Springwoods Project and for HCCI's

violations of its fiduciary duties to the HCCI/RHC partnership (the "Hassell 2008 JV") pertaining

to the Springwoods Project. RHC's claims against HCCI include claims for damages as a result of

HCCl's breached fiduciary duties to the Hassell 2008 JV by the deliberate and malicious hiring of

the egregiously conflicted law firm of Coats Rose, against the objections of RHC, to represent

HCCI against RHC pertaining to damage claims related to the Springwoods Project. RHC further

makes cross-claims against HCCI for breach of the duty of good faith and fair dealing with regard

to the Springwoods Project contract and breach of the special and confidential relationships
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existing between RHC and HCCI as a result of the health qonditions of RHC President Royce

Hassell of which his family took advantage.

       33.     HCCl's decision to hire Coats Rose against RHC regarding the Springwoods

Project losses demonstrates willful and deliberate malice against Royce Hassell and RHC, and the

deliberate desire to interfere with RHC's damage claims pertaining to the Springwoods Project.

HCCI deliberately utilized Coats Rose's conflicts to harm and prejudice RHC in this case. At the

time HCCI sought out Coats Rose, HCCI was aware of Coats Rose's multiple conflicts of interest

and of Richard L. Rose's participation on behalf of original defendant HCID 18 in the frauds made

the subject of the original suit against Springwoods Realty and HCID 18. Upon information and

belief HCCI knowingly chose Coats Rose as its counsel against RHC regarding the Springwoods

Project despite the fact that Coats Rose represents Exxon, and that Richard L. Rose, President and

Managing Director of Coats Rose, as Board Director and officer also directed HCID 18 in

perpetrating the frauds against HCCI/RHC made the subject of the original suit.   Ill September of
2013 Mr. Rose, himselfrequested additional confidential information of the dispute between HCCI

and RHC pertaining to the S pringwoods Project should have been evidence enough of his conflicts.

Added to that are the facts that Coats Rose Vice Presidents undertook to consult with and advise

HCCI/RHC regarding the Springwoods Project losses in January of 2012; later deliberately

undertook to represent the joint bonding company of HCCI and RHC, Liberty Mutual, against R.

Hassell Builders, Inc. over the joint objections of HCCI and RHC; and later accepted

representation of HCCI against RHC. HCCI had enough information to determine that hiring

Coats Rose would harm the interests of the HCCI/RHC partnership in the original suit.

INTERVENORS' CLAIMS AGAINST COATS ROSE AND HCCI FOR INTENTIONAL
               INFLICTION OF EMOTIONAL DISTRESS
        INVASION OF PRIVACY, AND INTRUSION ON SECLUSION
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           34.   Coats Rose, acting in concert with HCCI, intentionally and    rec~lessly   inflicted

harms and intruded on the solitude, seclusion and private affairs of Royce and Silvia Hassell. The

conduct of Coats Rose is extreme and outrageous and proximately caused and is causing Royce

and Silvia Hassell severe emotional distress and mental anguish.

           35.   Coats Rose abused the confidential and privileged information it obtained from the

Hassell family and RHC in January of 2012 and thereafter, used such information to divide the

family and create, orchestrate and foment disputes where none existed for the purpose of defending

the damage claims asserted by HCCI/RHC against the defendants in the original suit.     As a result

of the wrongful actions of Coats Rose Springwoods Realty has raised new defenses to the damage

claims asserted against them in this case. Coats Rose has abused the relationships of confidence

with the Hassell family and the HCCI/RHC partnership to directly and purposefully interfere with

the relationship ofHCCI and RHC in order to defend this case. In November of 2013, Coats Rose

deliberately terminated settlement discuss.ions between HCCI and RHC which included attempts

to continue to prosecute this case jointly. In February of 2014, after making representations

through their agent Mi°cky Das that Coats Rose was no longer involved in the disputes between

HCCI and RHC, Coats Rose ambushed RHC at a Court ordered mediation by appearing on behalf

of HCCI, and thereafter proceeded to advise HCCI on whether HCCI should accept a settlement

offer which included ending the harms to the Springwoods lawsuit through Coats Rose and jointly

pursuing Coats Rose for damaging this claim. HCID 18 has been aware of the fact Coats Rose's

undertaking to interfere in the relationship of HCCI and RHC with regard to the Springwoods

Project.     Mr. Rose a government officer, as Board member and Officer of HCID 18 who

participated in the decisions made the subject of this suit, cannot consent around the conflicts of

his law firm for which he is President and Managing Director. His September of 2013 decision to
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have Coats Rose represent HCCI against RHC regarding the Springwoods Project losses violates

multiple fiduciary duties to and relationships of confidence with multiple parties. It is impossible

for Coats Rose to consent around the conflicts of Coats Rose representing BCCI to foreclose on

the personal real estate of Royce and Silvia Hassell which secures loans that RHC financed the

improvements for the benefit of Exxon on HCID 18 1s Springwoods Project- and which were

incun-ed solely as a result of the frauds perpetrated on RHC by HCID 18, Springwoods Realty,

Exxon and Walter P. Moore for ''design as you go" construction for which RHC seeks damages in

this case. As demonstrated by the "PRIVILEGED AND CONFIDENTIAL FOR MEDIATION

PURPOSES ONLY 11 document which Springwoods Realty nevertheless filed of public record in

this case, the disputes fomented by Coats Rose are now the primary defense of the Springwoods

defendants. HCID 18, Springwoods Realty, Exxon and Walter P. Moore have knowingly used

Coats Rose's conflicted representation to defend this case.

       36.     In arbitration, Coats Rose has even filed contorted alleged claims against

Intervenors pertaining to the Springwoods Project losses seeking $10,000,000 in damages. Coats

Rose's agent, Micky Das, has then dutifully made these "private" AAA pleadings claims public by

attaching them as exhibits in the Harris County trial courts. What is evident is that Coats Rose's

damage claims should have been asserted against the Springwoods defendants in this case, but

because of Coats Rose's conflicts they were instead made against RHC. As a result of the wrongful

conduct of Coats Rose and HCCI, Royce and Silvia Hassell's personal real estate has been held for

ransom and Royce and Silvia are on the verge of losing their personal home which they share with

Silvia's elderly parents, one of whom is suffering from severe health problems. Coats Rose has

further engaged in abuse of process by deliberately holding the personal homestead of Royce and

Silvia Hassell hostage to patently unconstitutionally invalid lien claims while simultaneously
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attempting to obtain first lien rights to the property from the Royce and Silvia Hassell mortgage

holder. In the same manner Coats Rose engaged in ab.use of process by filing a fraudulent lien

claim against RHC with regard to anotherHCCl/RHC partnership project, the .OCB/Stellar project,

which was knowingly based on the false affidavit of Phillip Hassell. Coats Rose further engaged

in abuse of process by offering to remove the invalid lien in exchange for unrelated concessions

which affect the damage claims pertaining to the Springwoods Project. Coats Rose has continued

to use financial coercion to achieve its obvious goals to defeat the damage claims against the

Springwoods defendants. This extreme and outrageous conduct by a law firm which has both a

personal interest in the outcome of this case, and the interests of two of its major clients, Exxon

and Liberty Mutual, which are adverse of HCCI and RHC in this case, has inflicted and is

continuing to inflict severe mental anguish and emotional distress on Intervenors Royce and Silvia

Hassell. The interests of Intervenors are so Integral to the losses asserted against the defendants

in this case that if Coats Rose is permitted to continue its course of action unchecked the law firm

of Coats Rose will cause the loss ofRoyce and Sil viaHassell's home before this case ever goes to

trial.

         37.   lntervenors' interest in this suit is greater than a mere contingent or remote interest.

Intervenors have a justiciable interest in this suit as a result of RHC's interest in the Springwoods

Project contract, and as a result of RHC's work performed and accepted by the Defendants on the

Springwoods Project pursuant to the agreements between HCCI and RHC, and as a result of the

harms which have been caused to this lawsuit by the deliberate interference of Coats Rose in the

partnership and contractual relationships ofHCCI and RHC.

         38.   The conflicted motivations and intentions of Coats Rose in Wldertaking such

conflicted representation form a part of and are integral to the frauds perpetrated by the defendants
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in this case against HCCI. Such frauds have resulted in the damage claims asserted in this case.

In fact during constrnction and at the height oftbe losses incurred Coats Rose undertook to consult

with, obtain confidential information from and advise the Hassell family and their related

corporations regarding the very losses at issue in this case.

       39.        Intervenor RHC makes this original claim in intervention against the law finn of

Coats Rose for Coats Rose's deliberate, unconscionable, fraudulent and tortious interference with

the business relationship of RHC and HCCI, for abuse of process, and for conspiracy with

Springwoods Realty and HCID 18 to defraud RHC with regard to the Springwoods Project and

the Hassell 2008 N's partnership interest in the Springwoods Project claims. In addition to the

damages sought as set out in the "Plaintiffs Third Amended Original Complaint," RHC seeks

damages for destruction of the partnership relationships between HCCI and RHC.

 INTERVENORS' CLAIMS AGAINST SPRINGWOODS REALTY AND COATS ROSE
           FOR FRAUD, AIDING AND ABETTING, ASSISTING,
       ENCOURAGING, AND PARTICIPATING, CONCERT OF ACTION
                   AND CONSPIRACY TO DEFRAUD

       40.        Intervenors incorporate paragraphs 111 through 114 of Plaintiffs Third Amended

Original Petition. (Exhibit "A").

       ....;t 1
            ~.    i\.s fu..1.her claim L11tervenors assert that defenda...11ts Springv·1ocds P,ea!ty a.rid Coats

Rose acting in concert with HCID 18 Exxon and Walter P. Moore committed acts of fraud and

concealment which were intended to and which did cause Intervenors harm. In this regard the

defendants were members of a group or a combination of persons with the common objective to

accomplish an unlawful purpose and/or a lawful purpose by an unlawful means. To that end the

defendants have entered into one or more agreements with each other and/or HCID 18, Exxon and

Walter P. Moore regarding the additional costs and damages incurred by RHC and Royce and

Silvia Hassell as a result of the frauds attendant to the Springwoods Project. Upon information
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and belief the law firm of Coats Rose represents the interests of Exxon and Liberty Mutual.

Richard L. Rose, President and Managing Director of Coats Rose directed HCID 18 and

participated in its actions against HCCI and RHC related to the Springwoods Project.

           42.   In January of 2012, Coats Rose Vice Presidents Patrick Gaas and Heather Asselin

purported to advise HCCI and RHC regarding the losses being incurred in the Springwoods

Project.     Thereafter, while Coats Rose President and Managing Director continued to make

decisions on behalf of HCID 18 pertaining to the claims of HCCVRHC, Coats Rose Vice

Presidents Patrick Gaas and Heather Asselin continued to solicit additional confidential

information from HCCI. RHC contends that Coats Rose's direct intetference in the relationship

between HCCI and RHC is driven by Coats Rose's conflicted loyalties to Exxon, Liberty Mutual,

HCID 18 and Springwoods Realty.

           43.   Days after Coats Rose Vice Presidents Patrick Gaas and Heather Asselin obtained

confidential information from and consulted with the Hassells regarding the hardships of the

Springwoods Project losses, and while Coats Rose was requesting that the Hassell's provide Coats

Rose with additional documentation pertaining to HCCI's relationship with RHC, Richard L. Rose,

President and Managing Director of Coats Rose seconded a motion for HCID 18 to hire Jacobs

Engineering, the company already secretly being used by Springwoods Realty to review the plans

prepared by Walter P. Moore for more additional errors, changes and corrections which were to

be made to the plans of HCCI/RHC. Further, Mr. Rose along with his fellow HCID 18 Directors

listened as the District's Engineer "updated the board regarding construction of water, sewer,

drainage and paving to serve Springwoods Village Parkway Phase 2 by Hassell Construction

Company, Inc. ("Hassell")" and "discussed the status of Hassell's claim for time extension and

additional payment." (Exhibit "A" February 22, 2012, Minutes of Harris County Improvement
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Board No. 18, pages 4 and 5.) Just two days after this Board meeting, and despite the fact that the

Hassells had gone to consult with Coats Rose on behalf of both HCC! and RHC, a consultation

which Royce Hassell had not attended because he was just two months out of a kidney transplant
                                                                       I



and was under medical restrictions, and before the Hassell's discovered the web of Coats Rose's

conflicts, Coats Rose caused Phillip Hassell to sign a fee agreement for HCCI wherein Coats Rose

was to "address" and "evaluat[e] secured transactions and potential defensive strategies related to

transactions or matters involving R. Hassell Builders, R. Hassell Company and Royce and Sylvia

Hassell." Just weeks after receiving HCCI's $2500 retainer check (which Coats Rose curiously

failed to cash) Mr. Rose and his fellow directors met again. At this second meeting after the

Hassell's consultation with Coats Rose Mr. Rose and his fellow Board members "discussed the

schedule for the [Springwoods Plroject and the status of Hassell's claim for time ex.tensions and

additional payment." At the same meeting Mr. Rose "moved to approve the Master Agreement

for Professional Services with WPM" whose Springwoods Project plans defects were already

being investigated by Jacobs Engineering but which the HCID 18 Board nevertheless carried

unanimously. Not surprisingly, HCID 18 and Springwoods have now sued WPM in this case

alleging WPM is at fault in the damage claims of HCCI/RHC. (Exhibit "B," March 28, 2012,
                                                                                              1
Minutes Harris County Improvement District No. 18, pages 4 and 6.) Mr. Rose's HCID 18 Board

and Springwoods also clawed back $750,000 in retainage and pay requests for work performed by

RHC. The decision to claw back these funds took place shortly after the Hassell's met with Coats

Rose despite the recommendation of Costello, the District Engineer and Project Representative

recommending that these amounts be paid.

       44.     Currently, and despite the fact that Mr. Rose is still a Board member ofHCID 18

who, along with Springwoods Realty, is being sued for millions of dollars by HCCI over claims
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in which Mr. Rose directly participated, Coats Rose has also undertaken to represent HCCI against

its partner RHC regarding the Springwoods Project losses. Coats Rose's reluctance to file any

pleadings in the courts on behalf ofHCCI in the courts is evidence of their sci enter of the conflicts

and attempts to hide them. Additional evidence of their knowledge of the conflicts is the decision

of Coats Rose's Vice-President Patrick Gaas to "hire ethics counsel out of my own pocket" to

attempt to devise ways to proceed in this conflicts minefield without personal exposure. One of

the subterfuges us.ed to hide Coats Rose's conflicts was Patrick Gaas's decision to use his own

business partner and non-Coats Rose attorney Micky Das to file Coats Rose's pleadings in the

courts. Micky Das, acting as agent for Coats Rose and admittedly describing himself as "just a

scribe,"
   ,-
         aided and assisted Coats Rose in tortiously interfering with and destroying the partnership

relationships of HCCI and RHC, their agreements pertaining to the Springwoods Project, and by

interfering with the partnership's joint pursuit of the damage claims for the Springwoods Project

losses. While in the courts Coats Rose attorneys terminated settlement negotiations between HCCI

and RHC because of the conflicts. However, once safely in the relative "privacy" and jurisdictional

protections of arbitrators C0ats Rose Vice Presidents Patrick Gaas and Heather Asselin asserted

claims against RHC and Royce and Silvia Hassell individually on behalf of HCCI for over

$10,000,000 for damages directlv relating to losses incurred by HCCJ and RHC . in the

SpringwoodsProject as well as those Mr. Das represented to the trial court Coats Rose wouJd not

pursue against RHC.

       45.     The conspiracy to harm HCCI/RHC's interests in this case led by, orchestrated by

and controlled by Coats Rose on behalf of Springwoods ReaJty and others with        ali~ed   interests

is self-evident. Coats Rose, acting in concert with the defendants HCID 18 and Springwoods

Realty, and unnamed party Exxon has been defending against RHC's partnership damage claims
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since January of 2012 using financial coercion, duress, subterfuge, stealth, deception, deceit and

by violating common laws and ethics rules which govern attorney conduct. The co-conspirators

committed and are committing unlawful, overt acts to further the object of their conspiracy.

Intervenors have suffered injury as a proximate result of the wrongful acts of Springwoods Realty,

and Coats Rose and those acting in concert with them in furtherance of the conspiracy.

       46.     Coats Rose and its attorneys Richard L. Rose, Patrick Gaas, Heather Asselin,

Robert Hancock and Paul Catalano as well as attorney Micky Das acting as agent for Coats Rose

and who repeatedly describes himself as "just a scribe," tortiously interfered with the partnership

relationship between HCCI and RHC, and particularly interfered with their agreements related to

the Springwoods Project and the joint pursuit of their damage claims for the Springwoods Project

losses. In summary, and not by way of limitation:

   •   Coats Rose and Richard L. Rose, President and Managing Director of Coats Rose,
       represented Exxon with regard to its agreements with Springwoods Realty and thereafter
       became Director and Officer of HCID 18. While attorney for Exxon and as Director and
       Assistant Secretary of HCID 18, Richard L. Rose directed the complained of conduct of
       HCID 18 with regard to the frauds against RHC and HCCI and is a witness in this case.

   •   In January of 2012, at the height of the Springwoods Project frauds, without disclosing
       Coats Rose's representation of Exxon, Liberty Mutual and Mr. Rose's directorship ofHCID
       18, Coats' Rose Vice-Presidents Patrick Gaas and Heather Asselin, undertook to obtain
       l,;Utifidential infonnation from, consult with, give advice to, and request additional
       documents and information from the Hassell's who represented to RHC that they were
       making the consultation on behalf of HCCI and RHC aild the Hassell family. The advice
       Coats Rose gave to the Hassells, to finish the projects that were being jointly pursued
       including the Springwoods Project, benefitted Coats Rose large and important clients
       Exxon and Liberty Mutual as well as benefitting HCID 18 Directed by Richard L. Rose,
       and Springwoods Realty. The advice caused harms to HCCI and RHC in the Springwoods
       Project, as demonstrated by this law suit.

   •   In January of2013, Coats Rose and Robert Hancock and Paul Catalano began representing
       Liberty Mutual, the joint bonding company of HCCI and RHC with regard to the
       Springwoods Project, against Intervenor R. Hassell Builders over the expressed objections
       of both HCCI and RHC .
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•   In September of 2013, Coats Rose agreed to represent HCCI against RHC with regard to
    the Springwoods losses over the expressed objections ofRHC and Royce Hassell on behalf
    of HCCI as Chief Operating Officer and Director of HCCI. After listening to these
    objection Mr. Rose asked counsel for RHC, "So what is going on between the Hassell
    corporations?"

•   In September of 2013, after the conflict objections had been made Coats Rose informed
    Intervenors in writing that all commw1ications between HCC! and RH.C must go through
    Coats Rose but that Coats Rose and HCCI did not desire to discuss the Springwoods Project
    matter with RHC.

•   Thereafter Coats Rose Vice President Patrick Gaas held a shareholders and directors
    meeting ofHCC! at his office to vote out Royce Hassell as Director ofHCCI and to remove
    him as Chief Operating Officer of HCCJ. Thereafter Coats Rose attempted to buy out
    Royce Hassell's individually owned shares in HCCI citing a ''Buy Sell Agreement" Coats
    Rose refused to produce.

•   Shortly thereafter, Coats Rose Yice President Patrick Gaas filed a fraudulent Jien against
    RHC on anHCCl/RHC project in an attemptto obtain concessions regarding joint venture
    projects.

•   In October of 2013 Coats Rose Vice President Patrick Gaas used his business partner
    Micky Das to file an answer in the Declaratory Judgment action brought by RHC while
    Coats Rose continued to control the case.. Attorney, Micky Das, Coats Rose's agent,
    refused to communicate with RHC's attorney despite ~he fact that he was the attorney of
    record.:..

•   In November of 2013 Coats Rose Vice Presidents Patrick Gaas and Heather Asselin
    thereafter unilaterally terminated settlement negotiations between HCCI and RHC because
    RHC refused to waive conflict of interest claims a£?:ainst Coats Rose.

•   In January ot'2014 Mr. Oas tiled pieadmgs before the Honorable Kyle Carter statm g RHC's
    conflict of interest claims against Coats Rose were moot because Coats Rose was not
    involved in the case. As a result of these reoresentations Judge Carter ordered that HCCI
    and RHC attend mediation. In February of 2014. Coats Rose ambushed RCoaHC at t Judge
    Carter's ordered mediation by appearing to represent HCCI against RHC. Coats Rose
    purported to represent HCCI on the demands of RHC that HCCI stop hurting the
    Springwoods lawsuit by sleeping with the enemy (Coats Rose) and to j_ointly pmsue
    damage claims against Coats Rose for their conflicts.

•   In May of 2014, after Micky Das as agent for Coats Rose accomplished getting the
    Declaratory Judgment action of RHC refeITed to arbitration through subterfuge and
    misrepresentation be conveniently stepped out of the case and Coats R0se took over filing
    HCCI's multimillion dollar "Demand for Arbitration" asserting claims based on the
    Springwoods Project losses.
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    •   Coats Rose actively sought to prevent judicial inquiry into its grievous conflicts through
        misrepresentations made to the Honorable Kyle Carter on Coats Rose's behalf by attorney
        Micky Das and, as a result, lntervenors have did not have the opportunity to present their
        judicial misconduct and waiver defenses to arbitration before Judge Carter. The failure of
        Judge Carter to grant an evidentiary hearing is now the subject of a "Petition for Writ of
        Mandamus" pending before the First Court of Appeals.

    •   Coats Rose is currently seeking to foreclose on the personal real estate of Royce and Silvia
        Hassell which secured loans taken by RHC to fund the "design as you go" Springwoods
        Project Construction. Coats Rose has attempted to hold this real estate hostage knowing
        that RHC has no funds to defend the arbitration demand. In this regard Coats Rose even
        attempted to purchase the first lien rights on Royce and Silvia Hassell's homestead from
        Comerica, their first mortgage holder to exert additional pressure on Intervenors.

        47.    Intervenors Royce and Silvia Hassell assert claims against the law firm of Coats

Rose for tortious interference with existing contract rights, abuse of process, and the use of

unconscionable intentional infliction of emotional distress, financial coereion, duress, invasion of

privacy and intrusion on seclusion as a means of defending against the damage claims of the RHC

partnership against HCID 18 and Springwoods Realty regarding the Springwoods Project.

        48.    Coats Rose has been aware since January of 2012 that as a result of the conspiracy

of "design as you go" frauds perpetrated against RHC related to the Springwoods Project, RHC

was forced to borrow the funds to finance the increased costs caused by HCID 18, Springwoods

Realty, Exxon and Walter P. Moore. The loans to finance Springwoods Realty and Exxon's costs

for the "design as you go" construction which RHC was forced to obtain were secured by the

personal real estate of Royce and Silvia Hassell. Intervenors Royce and Silvia Hassell file this

"Petition in Intervention" also seeking injunctive relief against Coats Rose's foreclosure actions

against the personal real estate of Royce and Silvia Hassell. These actions are premature as the

damage claims in this case are ongoing. Foreclosure is not ripe and cannot be determined until the

damage claims in this case have been adjudicated.
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       49.     Intervenors have justiciable claims pertaining the Springwoods Projects frauds and

the resultant losses from such frauds which form the basis of RHC's "Petition in Intervention" in

this case. Intervenor also have justiciable claims as a result of Coats Rose's tortious interference

in the Springwoods Project agreements between HCCI and RHC. In this regard, after hiring Coats

Rose HCCI breached its partnership agreement with RHC pertaining to the Springwoods Project;

HCCI violated its fiduciary duties to RHC pertaining to the Springwoods Project; and HCCI

deliberately harmed RHC's interest in this case by knowingly participating in the judicial

shenanigans of the grievously conflicted law firm of Coats Rose as it represented HCCI against

RHC regarding the Springwoods Project losses over the objections of RHC. HCCI's breaches of

fiduciary duty are so extensive and complete that on July 21, 2014, Coats Rose caused HCCI to

exclude RHC from participating in the mediation of this case. HCCl's breaches of its fiduciary

duties directed by Coats Rose are so far reaching that HCCI knowing hired Coats Rose to represent

it against RHC even after Phillip Hassell specifically. acknowledged and admitted in a previous

letter that Coats Rose has multiple conflicts of interest, most particularly with regard to the

confidential information which Coats Rose acquired during the January of 2012 consultation with
                                                                                                       \
the Hassell family and related entities HCCI and RHC. HCCl's breaches of its fiduciary duties are

so complete that HCCI has deliberately damaged RHC's pursuit of its damages in this case by

providing Coats Rose with confidential, inside information of the legal theories and attorney work

product pertaining to the pursuit of this case against the defendants including confidential and

privileged information which Coats Rose and Springwoods Realty are now using to defend RHC's

damage claims in this case. To exert additional duress and financial coercion Coats Rose has even

caused HCCI to convert all the jointly on-going construction projects of the HCCl/RHC

partnerships, and to fail to reimburse RHC for its expenses on joint projects, leaving RHC with no
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on-going projects, no cash flow, and unable to retain counsel to defend against the conduct of the

defendants in this case or to defend against Coats Rose's multimillion dollar claims against RHC

in arbitration which should have rightfully been filed against the original defendants in this case

HCID 18 and Springwoods Realty, as well as Coats Rose.

  )              INTERVENORS' BREACH OF CONTRACT AND CLAIM
                      UNDER LOC. GOV'T CODE 271.153(A)(2)

         50.   RHC incorporates paragraphs 93-106 of Plaintiffs Third Amended Original

Petition (Exhibit "A").

                      INTERVENORS' CLAIMS FOR ASSUMPSIT,
                    QUANTUM MERUIT AND UNJUST ENRICHMENT

         51.   RHC incorporates paragraphs 107 through 110 of Plaintiffs Third Amended

Original Petition (Exhibit "A").

                                           E. Damages

         52.   lntervenors incorporate by reference and adopt the claims for damages against

defendants in this case HCID 18 and Springwoods Realty previously asserted by them through

their partner HCCI in the original suit.

         53.   As further claim RHC asserts that the frauds perpetuated upon them by defendants

and third parties acting in concert with the defendants have caused grievous actual, proximate and

foreseeable harms which continue until present. It was foreseeable that harms would be incurred

by HCCI and RHC as a result of the extra costs associated with constructing what was initially

represented to be a $15,000,000 project but which was actually secretly intended to be a "design

as you go" project" costing millions more to construct which HCID 18, Springwoods Realty and

Exxon desired to be financed by HCCVRHC.           It was foreseeable that the false promises of

defendants HCID 18 and Springwoods Realty that the extra costs being incurred by HCCI and
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RHC would be reimbursed timely would be relied on by HCCI and RHC. It was foreseeable that

in order to fund the millions of dollars in extra costs before reimbursement RHC would be required

to borrow funds to complete the project. It was foreseeable that loans obtained to front these extra-

costs would have to be collateralized. It was foreseeable that ifthe promises to pay the extra costs

were violated that the collateral securing the unreimbursed loans would be placed in jeopardy.

       54.     The damages suffered by RHC and Royce and Silvia Hassell directly and naturally

result from reliance on the misrepresentations of the defendants and HCCI.

       55.     Intervenors Royce and Silvia Hassell have also suffered severe emotion distress

and mental anguish for which they seek relief against the defendants. The misrepresentations and

string-a-long fraud tactics of the defendants against RHC related to the Springwoods Project

frauds, the tortious interference in the partnership relationship ofHCCI and RHC, and the attendant

implications to the personal real estate of Royce and Silvia Hassell caused Royce and Silvia

Hassell physical and emotional pain, grief, severe disappointment, despair, confusion, and resulted

in misunderstandings between family members, embarrassment and public humiliation. The

misrepresentations and string-a-long fraud tactics related to the Springwoods project and Coats

Rose's direct and conflicted involvement caused such misunderstandings within the Hassell family

which have ultimately resulted in the complete destruction of father/son, brother/sibling, and other

important family relationships which will no doubt never be mended. Further, Royce Hassell was

subjected to these frauds during a time of extreme illness which almost resulted in his death.

       56.     The emotional distress and mental anguish which further resulted to Royce Hassell

from HCCI's decision to hire the law firm of Coats Rose to represent HCCI against RHC, and

Coats Rose's and HCCl's despite knowing that this decision would result in violations of
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confidences, privileged conununications and evidentiary protections caused further extreme and

unrelenting harms.

                                     F. Exemplaiy Damages

       57.     Intervenors RHC and Royce and Silvia Hassell assert claims for exemplary

damages against the Springwoods Realty, Exxon, Coats Rose and HCC!.

       58.     "A person who intentionally misrepresents facts for the purpose of injuring another

is guilty of wanton and malicious conduct." Dennis v. Dial Finance & Thrift Company, 401

S.W.2d 803, 805 (Tex. 1966). Exemplary damages are properly awarded when actual damage is

suffered as a result of fraud intentionally conunitted for the purpose of injuring. Collins v. Miller,

443 S.W.2d298 (Tex.Civ.App. -Austin 1969) citing Dennis v. Dial Finance and Thrift Company,

401S.W.2d803 (Tex.1966.

                                         G. Attomey Fees

       59.      lntervenors are entitled to recover reasonable and necessary attorney fees.

                                     H. Conditions Precedent

       60.      All conditions precedent to Intervenors' claim have been performed or have

occurred.
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                                           I. PRAYER

        61.     For these reasons, Intervenors ask that, on final trial, lntervenors be awarded a

judgment for their damages, attorneys' fees, interest, court costs, and any other relief to which

Intervenors may show themselves justly entitled.

                                                      Respectfully submitted,



                                                      BY:     Isl

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                                                      HASSELL HOLDING COMPANY, INC.,
                                                      AND ROYCE AND SILVIA HASSELL




                                 CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing was served upon the following counsel
as indicated below on September 15, 2014.

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